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  8
  9                     UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11    MARTHA ELIZABETH KIDD                       Case No. 8:17-cv-2175
 12                        Plaintiff,
 13                                                COMPLAINT FOR VIOLATIONS OF
                    vs.                            FAIR CREDIT REPORTING ACT
 14
 15    ACCURATE BACKGROUND,                        DEMAND FOR JURY TRIAL
       INC.
 16
 17                        Defendant.
 18
 19                                PRELIMINARY STATEMENT
 20         1.     This is an action for damages brought by an individual consumer
 21   against the Defendant for violations of the Fair Credit Reporting Act (“FCRA”), 15
 22   U.S.C. §§ 1681 et seq., as amended. Under the FCRA, “consumer reports” subject
 23   to the statute’s protections include not simply those used in establishing the
 24   consumer’s eligibility for credit, but also those used for “employment purposes.”
 25   15 U.S.C. § 1681a(d)(1)(B).
 26         2.     The FCRA was enacted “to ensure that consumer reporting agencies
 27   exercise their grave responsibilities with fairness, impartiality, and a respect for the
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  1   consumer’s right to privacy,” 15 U.S.C. § 1681(a)(4), by operating “in a manner
  2   which is fair and equitable to the consumer, with regard to the confidentiality,
  3   accuracy, relevancy” of the consumer information they disseminate. 15 U.S.C. §
  4   1681(b).
  5                                JURISDICTION AND VENUE
  6         3.     Jurisdiction of this Court arises under 15 U.S.C. § 1681p and 28
  7   U.S.C. § 1331.
  8         4.     Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).
  9
 10                                            PARTIES
 11         5.     Plaintiff Martha Elizabeth Kidd is an adult individual who resides in
 12   the State of Texas.
 13         6.     Defendant Accurate Background, Inc. (“Accurate”) is a consumer
 14   reporting agency which provides background and employment screening services,
 15   risk-management services and products, information management products and
 16   services, and decisions-making intelligence. Accurate regularly conducts business
 17   in the Central District of California and has a principal place of business located at
 18   7515 Irvine Center Drive, Irvine, CA 92618
 19
 20                                 FACTUAL ALLEGATIONS
 21         7.     In or around September 2017, Plaintiff applied for employment at
 22   Amazon.com, Inc. (“Amazon”).
 23         8.     Plaintiff interviewed for the position and was provisionally hired by
 24   Amazon, contingent upon a background check.
 25         9.     Amazon requested from the Defendant, and the Defendant sold to
 26   Amazon a consumer report concerning the Plaintiff, in or around October 2017.
 27
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  1         10.    The consumer report furnished by Defendant was for employment
  2   purposes.
  3         11.    The consumer report furnished by Defendant was inaccurate.
  4   Specifically, the inaccurate information includes, but is not limited to, a charge for
  5   “assault with a deadly weapon”, a class A misdemeanor which should have been
  6   reporting as the lesser charge of “assault by contact”, a class C misdemeanor.
  7         12.    The inaccurate information negatively reflects upon the Plaintiff, and
  8   misidentifies Plaintiff’s criminal history. It appears that Defendant, as a result of its
  9   unreasonable procedures, produced a consumer report that inaccurately reported
 10   Plaintiff’s criminal history because it failed to update its criminal records.
 11         13.    Defendant has been reporting the inaccurate information through the
 12   issuance of false and inaccurate background information and consumer reports that
 13   it has disseminated to various persons and prospective employers, both known and
 14   unknown.
 15         14.    The inaccurate information includes, but is not limited to, an
 16   inaccurate criminal record labeling the Plaintiff as being convicted of assault with
 17   a deadly weapon.
 18         15.    The derogatory inaccuracy appears to be caused by a failure to update
 19   its public records data. Any rudimentary inspection of the data would reveal the
 20   inaccuracy. Defendant obviously failed to employ such a procedure.
 21         16.    In creating and furnishing the Plaintiff’s consumer report, Defendant
 22   failed to follow reasonable procedures to assure the maximum possible accuracy of
 23   the information it reported about the Plaintiff. Had Defendant followed such
 24   procedures it would have never reported the inaccurate information on Plaintiff’s
 25   consumer report.
 26         17.    Plaintiff was subsequently denied employment opportunities through
 27   Amazon. Plaintiff was informed by Amazon that the basis for the decision
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  1   denying her employment was the inaccurate information that appears on Plaintiff’s
  2   Accurate background report and that the inaccurate information was a substantial
  3   factor in the denial.
  4          18.       Plaintiff disputed the inaccurate information with Accurate by written
  5   and oral communications to its representatives and by following Accurate’s
  6   established procedures for disputing consumer credit information in or around
  7   October 31, 2017.
  8          19.       Notwithstanding Plaintiff’s efforts, in or around October 2017
  9   Defendant sent Plaintiff correspondence indicating its intent to continue publishing
 10   the inaccurate information and Defendant continued to publish and disseminate
 11   such inaccurate information to other third parties, persons, entities and potential
 12   employers.
 13          20.       Despite Plaintiff’s efforts, Defendant, however, has never: (1)
 14   contacted Plaintiff to follow up on, verify and/or elicit more specific information
 15   about Plaintiff’s disputes; (2) contacted all third parties that would have relevant
 16   information concerning Plaintiff’s disputes; (3) forwarded any relevant information
 17   concerning Plaintiff’s disputes to the entities originally furnishing the inaccurate
 18   information; and (4) requested or obtained the actual public records, police records
 19   or other records relating to the criminal charges.
 20          21.       Despite Plaintiff’s exhaustive efforts to date, Defendant has
 21   nonetheless deliberately, willfully, intentionally, recklessly and negligently
 22   repeatedly failed to perform reasonable reinvestigations of the above disputes as
 23   required by the FCRA, has failed to remove the inaccurate information, has failed
 24   to report on the results of its reinvestigations to all of Plaintiff’s potential
 25   employers and has continued to report the derogatory inaccurate information about
 26   the Plaintiff.
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  1         22.    As of result of Defendant’s conduct, Plaintiff has suffered actual
  2   damages in the form of lost employment opportunities, harm to reputation, and
  3   emotional distress, including humiliation and embarrassment.
  4         23.    At all times pertinent hereto, Defendant was acting by and through its
  5   agents, servants and/or employees who were acting within the course and scope of
  6   their agency or employment, and under the direct supervision and control of the
  7   Defendant herein.
  8         24.    At all times pertinent hereto, the conduct of the Defendant, as well as
  9   that of its agents, servants and/or employees, was intentional, willful, reckless, and
 10   in grossly negligent disregard for federal law and the rights of the Plaintiff herein.
 11
 12                         COUNT I – VIOLATIONS OF THE FCRA
 13         25.    Plaintiff incorporates the foregoing paragraphs as though the same
 14   were set forth at length herein.
 15         26.    At all times pertinent hereto, Defendant was a “person” and a
 16   “consumer reporting agency” as those terms are defined by 15 U.S.C. §§ 1681a(b)
 17   and (f).
 18         27.    At all times pertinent hereto, the Plaintiff was a “consumer” as that
 19   term is defined by 15 U.S.C. § 1681a(c).
 20         28.    At all times pertinent hereto, the above-mentioned consumer report
 21   was a “consumer report” as that term is defined by 15 U.S.C. § 1681a(d).
 22         29.    Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 1681o, Defendant is
 23   liable to Plaintiff for willfully and negligently failing to comply with the
 24   requirements imposed on a consumer reporting agency pursuant to 15 U.S.C. §
 25   1681e(b) and § 1681i.
 26         30.    The conduct of Defendant was a direct and proximate cause, as well
 27   as a substantial factor, in bringing about the serious injuries, actual damages and
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  1   harm to the Plaintiff outlined more fully above and, as a result, Defendant is liable
  2   to the Plaintiff for the full amount of statutory, actual and punitive damages, along
  3   with the attorney’s fees and the costs of litigation, as well as such further relief, as
  4   may be permitted by law.
  5
  6                                    JURY TRIAL DEMAND
  7         31.    Plaintiff demands trial by jury on all issues so triable.
  8
  9                                     PRAYER FOR RELIEF
 10                WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and
 11   damages against the Defendants, based on the following requested relief:
 12         (a)    Actual damages;
 13         (b)    Statutory damages;
 14         (c)    Punitive damages;
 15         (d)    Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§ 1681n
 16   and 1681o; and
 17         (e)    Such other and further relief as may be necessary, just and proper.
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 19                                            Respectfully Submitted,

 20                                            ___________________
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 26   Dated: December 12, 2017
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                             COMPLAINT AND JURY DEMAND
